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                                          1   Christopher M. Curran (pro hac vice)
                                              ccurran@whitecase.com
                                          2
                                              Lucius B. Lau (pro hac vice)
                                          3   alau@whitecase.com
                                              Dana E. Foster (pro hac vice)
                                          4
                                              defoster@whitecase.com
                                          5   White & Case LLP
                                              701 Thirteenth Street, N.W.
                                          6
                                              Washington, DC 20005
                                          7   Telephone: (202) 626-3600
                                              Facsimile: (202) 639-9355
                                          8
                                          9   Counsel to Defendants Toshiba Corporation,
                                              Toshiba America, Inc., Toshiba America
                                         10
                                              Information Systems, Inc., and Toshiba America
                                         11   Electronic Components, Inc.
                                         12
             701 Thirteenth Street, NW




                                                                     UNITED STATES DISTRICT COURT
              Washington, DC 20005
White & Case LLP




                                         13                         NORTHERN DISTRICT OF CALIFORNIA
                                                                       (SAN FRANCISCO DIVISION)
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                                              IN RE: CATHODE RAY TUBE (CRT)                          Case No. 07-5944 SC
                                         16
                                              ANTITRUST LITIGATION                                     MDL No. 1917
                                         17
                                         18
                                              This Document Relates to
                                         19   Case No. 13-cv-1173-SC (N.D. Cal.)
                                         20
                                              SHARP ELECTRONICS CORPORATION;
                                         21   SHARP ELECTRONICS MANUFACTURING
                                              COMPANY OF AMERICA, INC.,
                                         22                                                    THE TOSHIBA DEFENDANTS’
                                                                                               STATEMENT OF RECENT
                                         23                        Plaintiffs,
                                                                                               DECISION
                                         24
                                                   v.
                                         25
                                              HITACHI, LTD., et al.,
                                         26
                                         27                        Defendants.
                                         28



                                                           THE TOSHIBA DEFENDANTS’ STATEMENT OF RECENT DECISION
                                                                             Case No. 07-5944 SC
                                                                               MDL No. 1917
                                                 Case 4:07-cv-05944-JST Document 2250 Filed 12/09/13 Page 2 of 3




                                          1        Pursuant to Rule 7-3(d)(2) of the Local Rules of Practice in Civil Proceedings before
                                          2   the United States District Court for the Northern District of California, Defendants Toshiba
                                          3   Corporation, Toshiba America, Inc., Toshiba America Information Systems, Inc., and
                                          4   Toshiba America Electronic Components, Inc. respectfully submit this Statement of Recent
                                          5   Decision and hereby bring to the Court’s attention the attached Supreme Court decision,
                                          6   Atlantic Marine Const. Co., Inc. v. U.S. Dist. Ct for the W. Dist. Tex., No 12-929, slip op.
                                          7   (U.S. Dec. 3, 2013), which is relevant to the Toshiba Defendants’ Motion to Dismiss
                                          8   Sharp’s Complaint. A copy of the slip opinion is attached hereto as Exhibit A.
                                          9
                                         10                                                    Respectfully submitted,
                                         11   Dated: December 9, 2013
                                         12
             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




                                                                                          By: /s/ Lucius B. Lau
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                                                                                              Christopher M. Curran (pro hac vice)
                                         14                                                   ccurran@whitecase.com
                                                                                              Lucius B. Lau (pro hac vice)
                                         15
                                                                                              alau@whitecase.com
                                         16                                                   Dana E. Foster (pro hac vice)
                                                                                              defoster@whitecase.com
                                         17
                                                                                              701 Thirteenth Street, N.W.
                                         18                                                   Washington, DC 20005
                                                                                              tel.: (202) 626-3600
                                         19
                                                                                              fax: (202) 639-9355
                                         20
                                                                                               Counsel to Defendants Toshiba
                                         21
                                                                                               Corporation, Toshiba America, Inc.,
                                         22                                                    Toshiba America Information Systems,
                                                                                               Inc., and Toshiba America Electronic
                                         23
                                                                                               Components, Inc.
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                                                            THE TOSHIBA DEFENDANTS’ STATEMENT OF RECENT DECISION
                                                                               Case No. 07-5944 SC
                                                                                 MDL No. 1917
                                                 Case 4:07-cv-05944-JST Document 2250 Filed 12/09/13 Page 3 of 3




                                          1                               CERTIFICATE OF SERVICE
                                          2         On December 9, 2013, I caused a copy of “THE TOSHIBA DEFENDANTS’
                                          3   STATEMENT OF RECENT DECISION” to be electronically filed via the Court’s
                                          4   Electronic Case Filing System, which constitutes service in this action pursuant to the
                                          5   Court’s order of September 29, 2008.
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                                          7                                                 /s/ Lucius B. Lau
                                                                                            Lucius B. Lau
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             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




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                                                             TOSHIBA DEFENDANTS’ STATEMENT OF RECENT DECISION
                                                                              Case No. 07-5944 SC
                                                                                MDL No. 1917
